           Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 1 of 15




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
vs.                                            )
                                               )
JACOB CHANSLEY,                                )
                                               )       Cause No.: 1:21-cr-00003
         Defendant                             )
                                               )


                     DEFENDANT’S BIFURCATED MOTION TO COMPEL

                                        INTRODUCTION
      This Motion to Compel is bifurcated, being comprised first of general blanket requests and,

second, of specific requests targeting matters uniquely associated with the present case.

                                 GENERAL BLANKET REQUESTS

      Mr. Chansley moves for the production by the Government of the following discovery. This

request is not limited to those items known to the Government, but rather includes all discovery

listed below that is in the custody, control, care, or knowledge of any "closely related

investigative [or other] agencies" under United States v. Bryan, 868 F.2d 1032 (9th Cir. 1989):


      A. Mr. Chansley is Entitled to Discovery of His Statements. Pursuant to Rule 16(a)(1)(A),

         Brady v. Maryland, 373 U.S. 83 (1963), and the Fifth and Sixth Amendments to the

         United States Constitution, Mr. Chansley requests disclosure of any statements, whether

         oral, written, or recorded made by him which are in the possession, custody, or control of

         the Government, or which by the exercise of due diligence may become known to the

         Government, regardless of to whom made. This includes the substance of any statements

         made by Mr. Chansley which the Government intends to offer in evidence at trial.




                                                   1
     Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 2 of 15




B. Mr. Chansley also specifically requests that all arrest reports which relate to the

   circumstances surrounding his arrest or any questioning, if such reports have not already

   been produced in their entirety, be turned over to him. This request includes, but is not

   limited to, any rough notes, records, recordings (audio or visual), reports, transcripts or

   other documents in which statements and/or images of Mr. Chansley are contained. It

   also includes the substance of any oral statements which the Government intends to

   introduce at trial, and any written summaries of the defendant's oral statements contained

   in the handwritten notes of the Government agent. This is all discoverable under Fed. R.

   Crim. P. 16(a)(1)(A) and Brady v. Maryland, 373 U.S. 83 (1963). See also United States

   v. Johnson, 525 F.2d 999 (2d Cir. 1975); United States v. Lewis, 511 F.2d 798 (D.C. Cir.

   1975); United States v. Pilnick, 267 F. Supp. 791 (S.D.N.Y. 1967); Loux v. United States,

   389 F.2d 911 (9th Cir.), cert. denied, 393 U.S. 867 (1968).

C. Mr. Chansley also requests any response to any Miranda warnings which may have been

   given to him, on the date of his arrest. See United States v. McElroy, 697 F.2d 459 (2d

   Cir. 1982).

D. Prior Convictions or Prior Similar Acts. Rule 16(a)(1)(B) of the Fed. R. Crim. P.,

   provides that "upon request of the defendant, the Government shall furnish to the

   defendant such copy of his prior criminal record, if any, as is within the possession,

   custody, or control of the Government . . . ." Mr. Chansley, therefore, requests all

   evidence, documents, records of judgments and convictions, photographs and tangible

   evidence, and information pertaining to any prior arrests and convictions or prior bad

   acts. Evidence of prior record is available under Fed. R. Crim. P. 16(a)(1)(B).




                                             2
     Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 3 of 15




E. Evidence of prior similar acts is discoverable under Fed. R. Crim. P. 16(a)(1)(C) and Fed.

   R. Evid. 404(b) and 609; Mr. Chansley also requests the Government be ordered to

   provide discovery of any prior similar acts which the Government intends to introduce

   into evidence pursuant to Fed. R. Evid. 404(b).

F. The Defendant must have access to this information in order to make appropriate motions

   to exclude the use of such evidence at trial. See United States v. Cook, 608 F.2d 1175

   (9th Cir. 1979), cert. denied, 444 U.S. 1034 (1980).

G. Mr. Chansley requests a pre-trial conference prior to trial in order to resolve any issues

   raised by the Government's intention of introducing evidence pursuant to Fed. R. Evid.

   404 and 609.

H. Mr. Chansley is Entitled to Examine the Evidence the Government Intends to Rely Upon

   at Trial. Rule 16(a)(1)(C) authorizes a defendant to inspect and copy or photograph all

   books, papers, documents, photographs, and tangible objects which are in the possession,

   custody or control of the Government and which are material to the preparation of the

   defense or intended for use by the Government as evidence in its case during trial.

I. Specifically, Mr. Chansley requests the opportunity to inspect and photograph or

   otherwise duplicate all evidence seized from Mr. Chansley (including specifically his

   flagpole, finial, flag, and attire on or possessed by the Defendant during the events of

   January 6, 2021), all fingerprint analysis done on any of the evidence in this case, all

   identification procedures utilized by the Government agents.

J. The defense requests all evidence seized as a result of any search, either warrantless or

   with a warrant, in this case. This is available under Fed. R. Crim. P. 16(a)(1)(C); and any




                                             3
     Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 4 of 15




   books, papers, documents, photographs, tangible objects, or copies or portions thereof

   which the Government intends to use as evidence-in-chief at trial.

K. Mr. Chansley requests all arrest reports, investigator's notes, memos from arresting

   officers, dispatch tapes, sworn statements, and prosecution reports pertaining to Mr.

   Chansley. These are available under Fed. R. Crim. P. 16(a)(1)(B) and (C), Fed. R. Crim.

   P. 26.2 and 12(I).

L. The Defendant specifically requests that all dispatch tapes or any other audio or visual

   tape and digital video recordings which exist and which relate in any way to his case and

   or his arrest be preserved and provided in their entirety.

M. Mr. Chansley requests all other documents and tangible objects, including clothing,

   notes, books, papers, documents, photographs, and copies of any such items which were

   obtained from or belong to Mr. Chansley.

N. The defense requests all photographs, video tapes or other material used to memorialize

   the surveillance done in this case.

O. Mr. Chansley is Entitled To All Evidence Tending To Affect The Credibility of The

   Prosecution's Case.

P. Pursuant to Brady v. Maryland, 373 U.S. 83 (1963), United States v. Agurs, 427 U.S. 97

   (1976), and Giglio v. United States, 405 U.S. 150 (1972), Mr. Chansley requests the

   Court to order the Government to immediately disclose all evidence in its possession

   favorable to Mr. Chansley on the issue of guilt and which tends to affect the credibility of

   any part or all of the prosecution's case. This request specifically includes any

   impeaching evidence such as the prior records, of any material witnesses in this case.

   This request also includes any expressed or implied promises made by the Government to




                                             4
 Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 5 of 15




any material witnesses in exchange for their testimony in this case. See, e.g., United

States v. Bagley, 473 U.S. 667 (1985); Napue v. Illinois, 360 U.S. 264 (1959); United

States v. Gerard, 491 F.2d 1300 (9th Cir. 1974). The defense requests any and all

evidence including but not limited to: any evidence that any prospective Government

witness is biased or prejudiced against the defendant, or has a motive to falsify or distort

his or her testimony. Pennsylvania v. Ritchie, 480 U.S. 39 (1987); United States v.

Strifler, 851 F.2d 1197 (9th Cir.), cert. denied, 489 U.S. 1032 (1988); United States v.

Brumel-Alvarez, 991 F.2d 1452 (9th Cir. 1992); any evidence that any prospective

Government witness has engaged in any criminal act whether or not resulting in a

conviction. See Rule 608(b), Federal Rules of Evidence and Brady; any evidence that any

prospective witness is under investigation by federal, state or local authorities for any

criminal conduct. United States v. Chitty, 760 F.2d 425 (2d Cir.), cert. denied, 474 U.S.

945 (1985); any evidence, including any medical or psychiatric report or evaluation,

tending to show that any prospective witness' ability to perceive, remember,

communicate, or tell the truth is impaired; and any evidence that a witness has ever used

narcotics or other controlled substance, or has ever been an alcoholic. United States v.

Strifler, 851 F.2d 1197 (9th Cir. 1988); Chavis v. North Carolina, 637 F.2d 213, 224 (4th

Cir. 1980); the name and last known address of each prospective Government witness.

See United States v. Napue, 834 F.2d 1311 (7th Cir. 1987); United States v. Tucker, 716

F.2d 576 (9th Cir. 1983) (failure to interview Government witnesses by counsel is

ineffective); United States v. Cook, 608 F.2d 1175, 1181 (9th Cir. (1979) (defense has

equal right to talk to witnesses). The name and last known address of every witness to

the crime or crimes charged (or any of the overt acts committed in furtherance thereof)




                                          5
     Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 6 of 15




   who will not be called as a Government witness. United States v. Cadet, 727 F.2d, 1453

   (9th Cir. 1984); the name of any witness who made an arguably favorable statement

   concerning the defendant or who could not identify him or who was unsure of his

   identity, or participation in the crime charged. Jackson v. Wainwright, 390 F.2d 288 (5th

   Cir. 1968); Chavis v. North Carolina, 637 F.2d 213, 223 (4th Cir. 1980); Jones v. Jago,

   575 F.2d 1164, 1168 (6th Cir.), cert. denied, 439 U.S. 883 (1978); Hudson v. Blackburn,

   601 F.2d 785 (5th Cir. 1979), cert. denied, 444 U.S. 1086 (1980).

Q. Mr. Chansley is Entitled to Any Information That May Result in a Lower Sentence Under

   The Guidelines. This information is discoverable under Brady v. Maryland, 373 U.S. 83

   (1963). This request includes any cooperation or attempted cooperation by the defendant,

   as well as any information that could affect any base offense level or specific offense

   characteristic under Chapter Two of the Guidelines. Also included in this request is any

   information relevant to a Chapter Three adjustment, a determination of the defendant's

   criminal history, or any other application of the Guidelines.

R. The Defense Requests the Preservation of All Evidence. The defendant specifically

   requests that all audio or video tapes such as dispatch tapes or any other physical

   evidence that may be destroyed, lost, or otherwise put out of the possession, custody, or

   care of the Government and which relate to the arrest or the events leading to the arrest in

   this case or in the other charges alleged in the Indictment be preserved. This request

   includes, but is not limited to, any samples (including but not limited to blood, urine,

   fingerprints or narcotics) used to run any scientific tests, any narcotics, and any evidence

   seized from any third party. It is requested that the Government be ordered to question all

   the agencies and individuals involved in the prosecution and investigation of this case to




                                             6
     Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 7 of 15




   determine if such evidence exists, and if it does exist to inform those parties to preserve

   any such evidence.

S. The Defense Requests All Jencks Material. The defense requests all material to which

   Defendant is entitled pursuant to the Jencks Act, 18 U.S.C. § 3500, reasonably in advance

   of trial, including audio and visual tape recordings, such as dispatch tapes, and all notes

   or reports with regard to his preparation for testifying. A verbal acknowledgment that

   "rough" notes constitute an accurate account of the witness' interview is sufficient. All

   report or notes to qualify as a statement under § 3500(e)(1). Campbell v. United States,

   373 U.S. 487, 490-92 (1963). In United States v. Boshell, 952 F.2d 1101 (9th Cir. 1991)

   the Ninth Circuit held that when an agent goes over interview notes with the subject of

   the interview the notes are then subject to the Jencks Act.

T. Mr. Chansley requests all other information relevant to his defense. The defendant

   requests disclosure of evidence including but not limited to the following: (1) Any

   statement that may be "relevant to any possible defense or contention" that he might

   assert. United States v. Bailleaux, 685 F.2d 1105 (9th Cir. 1982).

U. Notice and a Written Summary of Any Expert Testimony. Under Rule 16(a)(1)(E),

   effective December 1, 1993, "[a]t the defendant's request, the Government shall disclose

   to the defendant a written summary of testimony the Government intends to use under

   Rules 702, 703 or 705 of the Federal Rules of Evidence during its case-in-chief at trial.

   This summary must describe the witness' opinions, the basis and the reasons therefore,

   and the witness' qualifications."

V. Mr. Chansley specifically requests the Government give him a written summary and

   notice of any expert testimony the Government intends to introduce.




                                             7
     Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 8 of 15




W. Giglio Information. Pursuant to Giglio v. United States, 405 U.S. 150 (1972), the

   defendant requests all statements and/or promises express or implied made to any

   Government witnesses, in exchange for their testimony in this case, and all other

   information which could arguably be used for the impeachment of any Government

   witnesses; and Henthorn Search. The defense requests that the prosecutor or some other

   attorney familiar with the case be ordered to examine the personnel files for evidence of

   perjurious conduct or other like dishonesty, or any other material relevant to

   impeachment, or any information that is exculpatory to Mr. Chansley and that material be

   provided to the defense. United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991); United

   States v. Dominguez-Villa, 954 F.2d 562 (9th Cir. 1992). (5) Reports of Scientific Tests

   or Examinations Pursuant to Fed. R. Crim. P. 16(D).

X. Mr. Chansley requests the reports of all tests and examinations conducted upon the

   evidence and Defendant in this case, including but not limited to any fingerprint testing

   done upon any evidence seized in this case.

Y. Brady Material The Defendant requests all documents, statements, agents' reports, and

   tangible evidence favorable to the Defendant on the issue of guilt and/or which affects the

   credibility of the Government's case. Impeachment as well as exculpatory evidence falls

   within Brady's definition of evidence favorable to the accused. United States v. Bagley,

   473 U.S. 667 (1985); United States v. Agurs, 427 U.S. 97 (1976).

Z. Personnel Records of Government Officers Involved in the Arrest The defendant requests

   all citizen complaints and other related internal affairs documents involving any of the

   immigration officers or other law enforcement officers who were involved in the




                                            8
       Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 9 of 15




     investigation, arrest and interrogation of him, pursuant to Pitchess v. Superior Court, 11

     Cal.3d 531, 539 (1974).


                                MOTION TO PRESERVE EVIDENCE


AA. Mr. Chansley requests that the Government preserve all physical evidence that may be

     destroyed, lost or otherwise put out of the possession, custody, or care of the Government

     and which relates to the alleged offenses, investigation, arrest and the events leading to

     the arrest in this case.


                                     SPECIFIC REQUESTS


 1. REPOSITORY ACCESS AND MATERIALITY DETERMINATION PROTOCOL

     DISCLOSURE.

     During the course of the present case, the Government has produced discovery

     sporadically. As part of this process, the Government sought and procured a Protective

     Order with respect to the Discovery. The Government has indicated it will timely produce

     all “material” discovery. The events of January 6, 2021 were memorialized to an extent

     rarely, if ever, experienced within the context of federal criminal cases. The Government

     itself has a wealth of surveillance video footage. Virtually every attendee in and around

     the Capitol on January 6, 2021 personally chronicled the events using their iPhone or

     other similar video device. Many of the attendees posted their video on one or more

     social media platforms. Many held their videos close to their vests resulting in little if any

     publication of same. News media outlets from around the world captured video footage.

     Independent media representative from around the world captured video footage.

     Intelligence and law enforcement personnel present at the Capitol on January 6, 2021 also


                                               9
   Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 10 of 15




  captured video footage of events of the day. By the Government’s own admission, the

  Government has an overwhelming amount of video footage of the events of January 6,

  2021. During the handlings of January 6 cases, the Government has garnered and

  continues to garner access to added video footage from, among other sources, the general

  public and the defendants themselves. Upon information and belief, the Government is

  not capable of vetting, cataloging and determining materiality of the video footage such

  as to ensure that disclosure of same is timely made in all cases to which the footage is

  material for disclosure purposes. The “information and belief” in this regard is a function

  of the undersigned counsel’s personal knowledge relative to footage given to the

  Government, familiarity with other January 6 cases both as counsel for other January 6

  defendants and as counsel familiar with other counsel representing January 6 defendants

  and the understanding that the footage provided to the Government does not appear to

  have been produced to other defendants whose cases warrant similar disclosure by the

  Government of material evidence. Defendant has requested the Government confirm

  whether there is a single repository for all video footage amassed relative to the events at

  the Capitol on January 6, 2021 and, further, has requested access to same for inspection

  and examination for determination of materiality and disclosure of the Government’s

  protocol to determine materiality. A true and correct copy of the correspondence issued

  by counsel for the Defendant to the AUSA assigned to this matter requesting same is

  attached herein, incorporated herein, and marked Exhibit A.

2. FLAGPOLE, FINIAL, FLAG AND ATTIRE OF DEFENDANT

  Much ado has been made by the Government of the flagpole, finial and flag (collectively

  “Accessories”) toted about by the Defendant on January 6, 2021. The Government has




                                           10
   Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 11 of 15




  been in possession of the Accessories since January 9, 2021, being the date on which

  Defendant provided same to the Government (also being the day on which the Defendant

  peacefully and voluntarily surrendered to the FBI in connection with the present matter).

  The Government has not produced the Accessories or otherwise made them available for

  inspection and examination by the Defendant, this despite Defendant’s counsel

  requesting same. A true and correct of Defendant’s counsel’s request in this regard is

  attached hereto, incorporated herein by reference, and marked Exhibit B. As noted in

  Exhibit B, the Defendant has also sought access to the attire donned by the Defendant on

  January 6, 2021 (also in the possession of the Government since January 9,

  2021)(“Attire”). The Defendant seeks access to the Attire and Accessories for

  examination, photography and inspection.

3. EVIDENCE OF DEFENDANT “FORCING” HIS WAY INTO THE CAPITOL

  Count Four of the Indictment herein alleges Mr. Chansley “forced” his way into the

  Capitol on January 6, 2021. Defendant has not identified any evidence disclosed by the

  Government to date which supports the allegation that Mr. Chansley “forced” his way

  into the Capitol on January 6, 2021. Counsel for Defendant formally requested same by

  means of correspondence directed to the AUSA assigned to the present matter. No

  response has been forthcoming. A true and correct copy of the correspondence issued to

  the AUSA is attached hereto, incorporated herein by reference, and marked Exhibit C.

  The Defendant seeks all evidence possessed by the Government relating to, arising out,

  and touching upon the allegation set forth in Count Four of the Indictment herein that

  Defendant “forced” his way into the Capitol on January 6, 2021.

4. VICE-PRESIDENT MOVEMENT LOG




                                          11
   Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 12 of 15




  The term “Restricted Building” (“RB”) is used in multiple counts set forth in the

  Indictment herein. The U.S. Code defines RB. As a matter of public record, it is known

  that every movement of the Vice-President of the United States of America is

  chronologically logged, setting forth dates, times, and locations of movement of a sitting

  Vice-President. It is also understood as a matter of public record that this logging process

  is created in “real time”. It is understood as a matter of public record this log is

  maintained by the U.S. Secret Service. As a matter of public record the Government has

  confirmed that on January 6, 2021, the then sitting Vice-President, was removed from the

  U.S. Capitol to other buildings in the Capitol Complex. The exact time and location of

  movement of the Vice-President on January 6, 2021 is vital to the defense of the

  Defendant herein. Defendant, by and through his counsel, has requested the Government,

  by and through its AUSA, provide Defendant with a copy of the U.S. Secret Service logs

  maintained to memorialize the movement of then Vice-President Pence on January 6,

  2021 from 1100 hours (Eastern) to 1600 hours (Eastern). A true and correct copy of the

  prior request of the Defendant in this regard is attached hereto, incorporated herein by

  reference and marked Exhibit D. No response has been forthcoming from the

  Government. The Defendant seeks a copy of the U.S. Secret Service log maintained to

  memorialize the movement of the then Vice-President on January 6, 2021 from 1100

  hours to 1600 hours (Eastern).

5. ACCESS TO CAPITOL FOR INSPECTION, EXAMINATION AND

  PHOTOGRAPHY OF BREAK ROOM AND SENATE CHAMBER &

  SURVEILLANCE VIDEO FOOTAGE FROM BREAK ROOM




                                            12
 Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 13 of 15




Defendant’s counsel took the Government’s Capitol Tour accorded defense counsel for

January 6 defendants on Memorial Day, 2021. Defendant’s counsel attempted to follow

the Government’s protocol to garner access to certain areas of the Capitol to which access

was not accorded as part of the original tour. Unfortunately, at the conclusion of the

original tour, there was no representative of the Government who was aware of the

protocol or knew what to do. In response, shortly thereafter, Defendant’s counsel

contacted the Government’s AUSA assigned to this matter to advise of the foregoing and

specifically request access to the break room in the Capitol and the Senate Chamber

(entry and Vice-President desk)(“Added Areas”), both of which are germane and material

to the present case. In turn, the AUSA forwarded by request to a third-party who advised

she would commence looking into Defendant’s counsel’s request. A true and correct

copy of the email chain by and between Defendant’s counsel, the AUSA and third-party

government personnel is attached hereto, incorporated herein by reference, and marked

Exhibit E. No plans have been made or otherwise communicated by the Government to

Defendant’s counsel to accord Defendant’s counsel access to the Added Areas for

inspection, examination and photographing. The Defendant seeks access to the Added

Areas. Concurrently, and as part of the same request, Defendant’s counsel sought from

the Government’s AUSA a copy of the surveillance video taken from the break room in

the Capitol, surveillance video footage which is understood to exist such as to depict the

Defendant during his brief interaction with the muffin thief on January 6, 2021. Thus,

Defendant also seeks the break room video footage reflected in a public sign which was

visible from the accessible area of the original tour but which was hanging in a

restricted/non-accessible part of the original tour.




                                          13
      Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 14 of 15




 6. REPSONSE TO REQUEST FOR STIPULATION OF TRANSCRIPT OF TRUMP

     SPEECH AT ELLIPSE OR GRANTING OF JUDICIAL NOTICE THEREFORE

     The words of former President Trump are material to the gravamen of the Defendant’s

     defense herein. The Defendant’s counsel requested of the Government, by and through its

     AUSA assigned to this case, that the Government stipulate to the accuracy of the

     transcript of the speech of then President Trump at the Ellipse in Washington, DC on

     January 6, 2021 (“President’s Speech”), which appears as an exhibit to the Government

     Report titled “Examining the U.S. Capitol Attack” (“Government Report”), being a report

     widely published and circulated by the Government. No response to this request was

     forthcoming. A true and correct copy of the correspondence issued in this regard to the

     Government’s AUSA is attached hereto, incorporated herein by reference, and marked

     Exhibit F. A copy of the transcript of the President’s Speech as made a part of the

     Government’s Report is attached hereto, incorporated herein by reference, and marked

     Exhibit G. Further, Defendant seeks to garner judicial notice of the Government’s Report

     and its contents. Defendant seeks to compel the Government to stipulate to the transcript

     of the President’s Speech or, in the alternative, for judicial notice to be taken of the

     accuracy of the transcript of the President’s Speech as it appears as part of the

     Government’s Report.

           MR. CHANSLEY REQUESTS LEAVE TO FILE FURTHER MOTIONS

BB. It is also requested that defense counsel be allowed the opportunity to file further motions

     based upon information gained through the discovery process.




                                               14
        Case 1:21-cr-00003-RCL Document 58 Filed 07/06/21 Page 15 of 15




                                             CONCLUSION

       For the foregoing reasons, it is respectfully requested that the court grant the above

motions.

Date: July 6, 2021                            Respectfully Submitted,

                                              KODNER WATKINS

                                              By:_/s/ Albert S. Watkins_______
                                                 ALBERT S. WATKINS, MO#34553
                                                1200 South Big Bend Boulevard
                                                St. Louis, MO 63117
                                                Phone: (314) 727-9111
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                                                E-mail: albertswatkins@kwklaw.net


                                 CERTIFICATE OF SERVICE

       Signature above is also certification that on July 6, 2021, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system
which will send notification of such filing to all parties of record.




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